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                      IN THE UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF OKLAHOMA

  MARILYN PHILLILPS,                            )
                                                )
                           Plaintiff,           )
                                                )
  v.                                            )             Case No. 17-CV-547-JED-JFJ
                                                )
  FARMERS INSURANCE                             )
  COMPANY, INC.,                                )
                                                )
                           Defendant.           )


            PLAINTIFF'S SUPPLMENTAL REQUESTED JURY INSTRUCTIONS


         The Plaintiff submits the following supplemental requested jury instruction. The purpose

  of the supplemental instruction is to tell the jury that the parties have agreed on certain facts and

  that the jury should consider those facts as true. The facts in question are admitted in Par. III of

  the Pretrial Order [Doc. 56]. Some of the facts do not need to be revealed to the jury but some

  do.

         Plaintiff proposes the requested instruction be given after the Court gives the “Issues in

  the Case” Instruction.

                                                                Respectfully Submitted:


                                                        By:     s/Anthony M. Laizure
                                                                Anthony M. Laizure, OBA # 5170
                                                                Laizure Law, PLLC
                                                                1616 S. Main Street
                                                                Tulsa, OK 74119
                                                                Phone: (918)749-0749
                                                                Fax: (918)518-7250
                                                                E-mail: TLaizure@LaizureLaw.com
                                                                Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on the 9th day of May, 2019, I electronically
  transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
  on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
  the following ECF registrants:

  Robert Taylor
  Steidley & Neal, PLLC
  CityPlex Towers, 53rd Floor
  2448 E. 81st Street
  Tulsa, OK 74137
  Email: rht@steidley-neal.com
  Attorney for Defendant

                                                       s/Anthony M. Laizure
                                                       Anthony M. Laizure




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        PLAINTIFF’S SUPPLEMENTAL REQUESTED JURY INSTRUCTION NO. 8

         The parties agree to the following facts. You are instructed to consider these facts as

  true. These facts have the same force and effect as other evidence and testimony in the case.

         1.      On May 27, 2012, Plaintiff Marilyn Phillips was a named insured on two

  automobile policies issued by Defendant Farmers Insurance Company, Inc.

         2.      The policies were in full force and effect on August 27, 2012.

         3.      The other driver in the wreck, Diane Rooker, is 100% at fault for the August 27,

  2012 wreck.

         4.      The Plaintiff Marilyn Phillips’ claim is worth at least $184,165.00.




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